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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


BELCALIS MARLENIS ALMÁNZAR,

                           Plaintiff,
         v.                                        Case No. 1:19-cv-01301-WMR

LATASHA TRANSRINA KEBE and KEBE
STUDIOS LLC,

                           Defendants.


                      STIPULATED ORDER GRANTING
                         PERMANENT INJUNCTION

      The jury in this action rendered a verdict in favor of Plaintiff Belcalis

Marlenis Almanzar (“Plaintiff”) on her claims against Defendants Latasha Kebe

and Kebe Studios LLC (“Defendants”) for defamation, false light, and intentional

infliction of emotional distress, which is set forth in the Judgment of this Court

dated February 17, 2022 (ECF No. 206) (the “Judgment”). The Judgment currently

is the subject of an appeal filed by Defendants with the Eleventh Circuit Court of

Appeals (the “Appeal”). Before this Court is Plaintiff’s request for a permanent

injunction [Doc 219], and the parties have agreed to the entry of a permanent

injunction on the following terms:
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      THE COURT ORDERS AS FOLLOWS:

IT IS ORDERED that Defendants and all persons acting in concert or participation

with them are each PERMANENTLY ENJOINED from publishing or re-

publishing on the Internet or otherwise the following statements that were judged

false and defamatory by the jury in this action (the “Defamatory Statements”):



      (1)   Plaintiff engaged in prostitution

      (2)   Plaintiff has herpes

      (3)   Plaintiff has HPV

      (4)   Plaintiff uses or used cocaine

      (5)   Plaintiff performed a debasing act with a beer bottle

      (6)   Plaintiff committed adultery

      The Defamatory Statements subject to this permanent injunction include, but

are not limited to, the following statements that were published by Defendants:

            •      Plaintiff “is a prostitute” or “prostituted”

            •      Plaintiff “sold pussy”

            •      Plaintiff “has herpes”

            •      Plaintiff “has cold sores”

            •      “Herpes B” (with and without space)


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              •     “Cold Sore B” (with and without spaces)

              •     Plaintiff has “HPV”

              •     Plaintiff uses or has used “cocaine” or is a “cokehead”

              •     Plaintiff placed “beer bottles up her vagina”

              •     Plaintiff committed adultery by “fucking” or “sleeping with”
                    somebody other than her husband

              •     Plaintiff has a “side peen”

              •     Somebody other than Plaintiff’s husband is “licking her pussy”
         IT IS FURTHER ORDERED that Defendants shall remove (to the extent not

already removed) any videos or posts that contain the Defamatory Statements (and

the titles of such videos and posts to the extent they contain the Defamatory

Statements) from their websites and social media accounts within five days from

the service of this Order, including but not limited to the following videos and

posts:

              •     YouTube Community post from unWinewithTashaK YouTube
                    account (P-176 / CARDI_000616)

              •     Twitter post from @unWinewithTashaK as posted on
                    November 7, 2019 (P-264 / CARDI_000112)

              •     Twitter post from @unWinewithTashaK as posted on January
                    25, 2019 (P-276 / CARDI_000488)

              •     YouTube video entitled “Cardi B. Jumped in My DM On
                    Instagram So I had To Gather Her Together Real Quick!” as


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          posted by Tasha K’s Future Podcast Home YouTube channel
          on September 19, 2018 (P-519 / CARDI VIDEO 001)

     •    YouTube video entitled “Cardi B. DISRESPECTFUL Comedy
          Skit MOCKING Martin Luther King’s Extra Marital Affairs”
          as posted by unWinewithTashaK YouTube channel on
          September 2, 2018 (P-532 / CARDI VIDEO 016)

     •    YouTube video entitled “Exclusive: Cardi B’s Ex-FRIEND
          ALLEGES Cardi B. Kept a Huge Box filled with MONISTAT
          & REVEALS More!” as posted by unWinewithTashaK
          YouTube channel on September 19, 2018 (P-534 / CARDI
          VIDEO 020)

     •    YouTube video entitled “(Exclusive) Cardi B. BURNING, Lira
          Galore, Nicki Minaj PAIN PILLS, Offset’s SIDECHICK,
          Kodak Black” as posted by unWinewithTashaK YouTube
          channel on December 14, 2018 (P-539 / CARDI VIDEO 029)

     •    YouTube video entitled “Tasha K. RESPONDS to Cardi B.’s
          Diffimation SUIT & Offset’s Dad calling Cardi B. OUT &
          more” as posted by unWinewithTashaK on December 18, 2018
          (P-542 / CARDI VIDEO 033)

     •    YouTube video entitled “Exclusive | Cardi B. & Offset, Wendy
          Williams & Tamar, Ti & Tiny, Young Dro, Fetty Wap, &
          More!” as posted by unWinewithTashaK YouTube channel on
          October 7, 2019 (P-549 / CARDI VIDEO 045)

     •    YouTube video entitled “Cardi’s Husband allegedly
          CONTACTED his EX GIRLFRIEND Jade (Re-Upload)” as
          posted by unWinewithTashaK on December 30, 2019 (P-551 /
          CARDI VIDEO 047)

     •    YouTube video entitled “Exclusive | Porsha William’s, Cardi B,
          Mase vs Diddy, Kelis, Ti, Miguel, Rihanna, & more” as posted
          by unWinewithTashaK YouTube channel on January 31, 2020
          (P-552 / CARDI VIDEO 049)

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     •    YouTube video entitled “Exclusive | Cardi's HOESBAND
          Offset Still SLEEPING with Summer Bunni & may GIVE
          Cardi HIV! Receipt” as posted by unWinewithTashaK
          YouTube channel on October 9, 2019 (CARDI VIDEO 067)

     •    YouTube video entitled “Exclusive | New R. Kelly
          ENABLERS REVEALED, Whitney Houston, Ti, Evelyn &
          O.G., Cardi B & more!” as posted by unWinewithTashaK
          YouTube channel on November 8, 2019 (P-576 / CARDI
          VIDEO 080)

     •    YouTube video entitled “Patreon Live With Tasha K” as posted
          by Wino Gang Podcast YouTube channel on September 19,
          2020 (P-579 / CARDI VIDEO 083)

     •    YouTube video entitled “Cardi BABY girl. I MEAN baby
          Bird!” as posted by Wino Gang Podcast YouTube Channel on
          September 21, 2020 (P-581 / CARDI VIDEO 085)

     •    YouTube video entitled “Tasha K RESPONDS to Cardi B.’s
          #MUTEBLACKBLOGS Agenda! Cardi CALLS Shade Room
          Owner a Water Buffalo” as posted by unWinewithTashaK
          YouTube channel on April 23, 2019 (P-583 / CARDI VIDEO
          088)

     •    YouTube video entitled “Exclusive | Cardi’s NEW LOVER
          amid Divorce? Kylie Jenner, Andrew Gillum, August Alsina,
          Nicki Minaj” as posted by unWinewithTashaK YouTube
          channel on September 18, 2020 (P-592 / CARDI VIDEO 101)

     •    YouTube video entitled “For the WINOS I apologize” as posted
          on Wino Gang Podcast YouTube channel on December 20,
          2019 (P-618 / CARDI VIDEO 129)

     •    YouTube video entitled “This is Why I CANT WERK!” as
          posted by Wino Gang Podcast YouTube Channel (P-620 /
          CARDI VIDEO 132)



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             •     Facebook post from Tasha K posted on December 18, 2018 (P-
                   921 / CARDI_000087)

             •     Tweet from @unWinewithTashaK on November 8, 2021 (P-
                   999 / CARDI_001082), which was also re-posted on the
                   unWinewithTashaK YouTube channel
      IT IS FURTHER ORDERED that the Clerk of Court should terminate the

Motion for Permanent Inunction [Doc 219] and this Court shall retain jurisdiction

of this matter for purposes of construction, modification, and enforcement of this

permanent injunction.

      Defendants have agreed not to appeal the propriety and/or form of this

permanent injunction, without waiving any other issues for appeal. Nevertheless, in

the event the Judgment is reversed in whole or in part as a result of the Appeal,

nothing herein shall prevent the Defendants from seeking to modify or rescind this

permanent injunction consistent with the decision by the Eleventh Circuit Court of

Appeals.

      SO ORDERED this 4th day of April, 2022.


                                       Honorable William M. Ray, II
                                       UNITED STATES DISTRICT JUDGE



STIPULATED AND AGREED:

Dated: April 4, 2022
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                                  /s/ W. Andrew Pequignot
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                                  Attorneys for Plaintiff
Dated: April 4, 2022

                                  /s/ Olga Izmaylova (with permission)
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                           CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed on this date the foregoing

STIPULATED ORDER GRANTING PERMANENT INJUNCTION with the

Clerk of the Court using the CM/ECF system, which will automatically send email

notification of such filing to all of the attorneys of record.

DATED: April 4, 2022
                                         /s/ W. Andrew Pequignot
                                         W. Andrew Pequignot
                                         Georgia Bar No. 424546




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